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                                                        United States District Court
                                                         Northern District of Ohio

                                             Non-Appeal Transcript Order
To Be Completed by Ordering Party

Court Reporter                 George Staiduhar         Judicial Officer           Judge Dan Aaron Polster

Requested by:            Melissa D. Bertke                               Phone     216.861.7865
Case Name           In Re: National Prescription Opiate Litigation
Case Number              1:17-md-02804 Date(s) of Proceedings            1/11/2021
Today's Date        1/11/2021             Requested Completion Date      1/11/2021
 Financial arrangements must be made with the court reporter before transcript is prepared. If the method of
      payment is authorized under CJA, submit the AUTH-24 in the OHND CJA eVoucher System
Email Address                mbertke@bakerlaw.com                          /s/ Melissa D. Bertke
                                                                                            Signature of Ordering Party

                                                         Maximum Rate Per Page

                                                                                                        First Copy to     Each add'l
                                  Transcript Type                                      Original
                                                                                                         each party         Copy

Ordinary: A transcript to be delivered within thirty (30) days after                          $3.65               $0.90          $0.60
receipt of order.

14-Day Transcript: A transcript to be delivered within fourteen (14)                          $4.25               $0.90          $0.60
days after receipt of an order.

Expedited/7-Day Transcript: A transcript to be delivered                                      $4.85               $0.90          $0.60
within seven (7) days after receipt of order.

3-Day Transcript: A transcript to be delivered within three (3) days                          $5.45               $1.05          $0.75
after receipt of order.

Daily: A transcript to be delivered prior to the normal opening hour of the
Clerk’s Office on the calendar day following receipt of the order, regardless of              $6.05               $1.20          $0.90
whether or not that calendar day is a weekend or holiday.

Hourly: A transcript of proceedings to be delivered within                             ✔      $7.25               $1.20          $0.90
two (2) hours from receipt of the order.

Realtime Unedited Transcript: A draft unedited transcript                                     $3.05
produced by a certified realtime reporter as a byproduct of realtime to be
delivered electronically during proceedings or immediately following               One feed, $3.05
receipt of the order.                                                              per page; two to
                                                                                   four feeds, $2.10
                                                                                   per page; five or
                                                                                   more feeds,
                                                                                   $1.50 per page.

Local Civil Rule 80.1/Criminal Rule 57.20 of the Northern District of Ohio requires transcript requests to be addressed to the court
 reporter who took the proceeding and filed with the Clerk of Court. Please electronically file the form and the appropriate court
                                 reporter and court staff will receive notification of the filing.
